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12.28.2012,Congresswoman MengZhaowen met Secreta ry Charces.Li in NewYork




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12,28,2011,Charles Li,Secretary-General of United Nations Chinese Friendship Associatio     •.
Gu, Yaming, congressman of American New York.                                           n, v1srtect
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 2012~01P.105 8 , at;S•.ASJ~~BmfilJdllifPllti32Hlilll~I!
a•»'~•.~ilf7•@1111$tHiflUUl$A . . .~
01.oc;.2012 Charces.li interviewed famous Chinese leader Chenxiangmei president in New York.




2011•11 P.124 8, ~tJJc*fff.1~11t~•&-iJllll'i~ff:j1j~dlL:*:*J:, le-&-ll$AJi:~WJ.4.
IM&~91J«ri*~w7~11l&:~~aSijlj~*·~·•&aC~1)                                            ~
11.24 2011, secretary ChaR:es.i (ri«ihtl mettheVlcechairmanoftheCPPCCNational
committee and the Chairman of National Federation of industl)' and Commerc
Chinese private corporation international cooperation conference in Bellfng.  e in the
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  2011 i:F3~58, ~~~~A~~t ~ ·15              "_m .          tt~~~.~~W
  03,05,2011, Charces.li , Sec retary of United Nat ions Chinese Fri endship Asso-
  ciati on, in t he fro nt o f the Head Office of United Nations




  2011£F3F.J78 , atsE1$A:at:fftD~ie=tHE:•~lffi.••11fl:!m1Tm!'!l~JJrn
  03,07,2011, Charces.li, Secretary of United Nations Chinese Friendship Association,
  Wsited WrJ Street
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Sun guo xiang ,Chinese General counsul to the United Nations met with Charles Li, Secre-
tary General of t he United Nations Chinese




r:pi11nQ:tttiatJ:!l'Zt?£2012.10.261i~~~~..t~!A1#-M'.8S:~lll~A~~~Q1.RJUT.•
Liu bei xian ,president of China' s New Agency, appreciated and met with Charles Li Secre-
tary General of the United Nations Chinese on the press conference                 '
Case 9:19-cr-80056-RKA Document 10-5 Entered on FLSD Docket 04/08/2019 Page 6 of 8




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                      mmWT.• ~!illJO :kU~-8-~ft~~Dtt!W~Hlm
       Charles Li.met with Canada delegates to the UN and global supermodels.
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Case 9:19-cr-80056-RKA Document 10-5 Entered on FLSD Docket 04/08/2019 Page 8 of 8
                                                                                            UNITED NATIONS FRltNDSHlP
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't(t'f J. *:'RH JIJI.&: I:                                                               In the past 2012, the world experienced lots of Impacts and the
                                                                                         globe Is full of attacks, natural disasters, regional crisis flnanclal
       q;~4NIJ.'4tf!l~:Jlt . lf.i.U~18.iQJ*'fz~ . ~ft~@frtli11f.A:Jr:if~i>
                                                                                         crisis, economic crisis, political crisis and social crisis, a ;.,re over·
(www.uncfa.org) iti.t!~-frti~P~W$t\!.-lll!.0 (www.unwtv.tv), ~{l-li)ia!'.                crisis year. ft Is predicted that the old world Is changing gradually
iiilli (www.unfpf.com) i111~1'k..f'A. , ttt W.~1¥-JAA'&:'ll. jl,,c~).fT~l't:lriiJ~~      and obviously and the new wor1d Is forming and full of vigor.
Rmt:IU!
     ~~2012$. , ~jij (it~l'~ffi . iti:}~...                         ffi. 1-'l~~';!i: ,   In the common-challenge world, no any country, organization
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fl;Mtlt3t.t!W..tE ~~J!jffi~-~.(t. IHltJl!.t;Jttfl!.£1£M~difiiX:ilfi                      of the times. UN Chinese Friendship Association, UN Asking
~~                                                                                       Congress Web TV and UN Friendship Pictorial were founded In
                                                                                                    to the times flow and encourage UN Charter and
                                                                                         2011 to adapt
  tf---1'-oo~~Jfil ~. ~~ ·1'-til*· ml!~l1-A&• O!iU                                       promote human peace and friendship.
•At11J.~~ . ~A~~~~~~~~. ~m~ A~ff~~­
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                                                                                         Here we appreciate UN's organizations and friendly assodiltions
~U~ll'.           {ij!.ilM. ~Al-¥-&:ff .   f-2011 ifi~ V..                               and UN's members, especially Chinese government and
     t!fiJt , f&itl~a-~~ttM~~f.!Un, ~ .#S-~tfl~jJIJ .fetfJ.                              American government provided great support and help to us.
~fn~Ul1~~anrtt:tf:J*1:t~r.t..i:;mJUI. •itt~M~,,~~~A                                      we appreciate the members to positively pM'tidpate in our work
                                                                                         and appreciate the three organizations to work hard.
±~~~1~ . •~~,,.~~~-~~n~ -~~
     11tf4 2014 «f.. n{f]U:.iRifi.iCU& . m.1tiiliit*•t·~ ftntfztl!Jdtt"lii!l:WI    *     Look forward the 2014, we bear Yitai tasks, but we are full of
• tf.Jo.ifl A. ·• .IXltl '-1~Lt4~x-M.~•ft1JJ1~1111mm. x.~~1~!J9Tt£                       confidence. We will continue to work hard with the people
  "f-t8jj{(f!J~. ~Pil~~a"flJ&jlil . x.rt~f-ff-:t.~ ~21                                   loving peace on the world. strengthen the cooperation with
 ttttc.tf.; JJ:j;:H~t:tt   A1f..i1,tf~.                                                  the UN's organizations, civil organizations. governments and
                                                                                         associations, and make more contribution for Millennium
      rueftl • .RCl!!:W..A..M•t·llJ.JJ . ~JlJtin .         ~fl!!~ -tJJSl$..              Development Goals and the 21th century's five goals under the
 ~.ru~.                    ~u. i9l~i!JJ1~f-'! 1~11<JfjJR 1                               alms and prlnciples of UN Charter!
      G . ruati.t9~~1:FJli{lt) if-!l!~'/;./Jf !
                                                                                          I believe that, only If the world people work hard, we can win
                                                                                          dtfflculties, promote lasting peace and comnon and prosperous
                                                                                          development and welcome more beautiful tomorTOW!

  Add..- for New Y-r                                                                      F'lnally, I wtsh In New York, everyone happy and healthy In the
  "Cl IFHI I .... , ..... of UNWTV ... UNCI'                                              New Year!

 Lldfu and gentlemen, all of friends:                                                                                                         UN Chinese FriendshlpAssoclatlon
 The iota New Year Is coming. At the time of ringing out the                                                                                                                 Cllln:all
 old ye• and ~ In the new yew, I am behalf of UN Chinese
 Friendship A ssociation (www.uncfa.org) to express my                                                              Written on Dec 31. 20t2ln New YOik UN Mansion
 greetings and wishes of New Year to the global Chinese and
 frt.nls throu8h UN Asking eonpss web TV - UN Friendship
  Pktarlal!
                                                       UNITED NATION. FRIE.NDSHIP PIOTORIAl.. FOUNJ:>ATION
